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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
INCLUSIVE LOUISIANA; MOUNT                *
TRIUMPH BAPTIST CHURCH; RISE ST.          * CIVIL ACTION NO.: 2:23-cv-00987
JAMES, by and through their members       *
                                          *
VERSUS                                    * JUDGE: WENDY B. VITTER
                                          *
ST. JAMES PARISH; ST. JAMES PARISH        *
COUNCIL; ST. JAMES PARISH                 * MAG. JUDGE JANIS VAN MEERVELD
PLANNING COMMISSION                       *



MEMORANDUM IN SUPPORT OF RE-SUBMITTED RULE 12 MOTION
     TO STRIKE ALLEGATIONS AND DISMISS CLAIMS




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 MEMORANDUM IN SUPPORT OF RE-SUBMITTED RULE 12 MOTION
      TO STRIKE ALLEGATIONS AND DISMISS CLAIMS
       St. James Parish, on behalf of itself and the St. James Parish Council and St. James Parish

Planning Commission (the “Defendant” or “St. James Parish”), files this Memorandum in

Support of its Re-Submitted Rule 12 Motion to Strike Allegations and Dismiss Claims in response

to the Amended Complaint for Declaratory and Injunctive Relief (the “Complaint”) [doc. 29] filed

by Inclusive Louisiana, Mount Triumph Baptist Church, and RISE St. James (“Plaintiffs”). St.

James asserts the following:

(1)    Pursuant to Rule 12(f) of the Federal Rules of Civil Procedure, Defendant, St. James Parish,

       moves to strike the allegations in Paragraphs 1-551 of Plaintiffs’ Complaint which are

       immaterial, impertinent, scandalous, and not relevant to the claims at issue.

(2)    Pursuant to Rule 12 (b)(1), St. James Parish moves this Court to dismiss the Complaint for

       Plaintiffs’ lack of standing. Because of Plaintiffs’ lack of standing, this Court lacks subject

       matter jurisdiction.

(3)    Pursuant to Rule 12 (b)(6), St. James Parish moves this Court to dismiss nominal

       Defendants, St. James Parish Council and St. James Parish Planning Commission, which

       have no separate legal identity and cannot be sued in a separate capacity.

(4)    Pursuant to Rule 12(b)(6), St. James Parish moves this Court to dismiss Plaintiffs’ claims

       as prescribed under the applicable statute of limitations and/or for failure to state a claim.

(5)    St. James Parish moves for an award of its fees and costs pursuant to 42 U.S.C. 1988.

       Defendant filed an original Rule 12 motion [Doc. 20], with the same arguments herein

resubmitted, three weeks before Plaintiffs filed their amended Complaint. In the amended

Complaint, Plaintiffs failed to cure any of the raised improprieties or deficiencies raised by



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Defendants. Because the Plaintiffs have amended their Complaint, no further amendments should

be allowed. As such, dismissal with prejudice is warranted.

I.     INTRODUCTION

       Plaintiffs’ Complaint invokes, recites, and relies on the dark history of slavery in the United

States and Louisiana to portray the actions of current elected officials as ones motivated by the

same historic discriminatory intent. The Complaint goes so far as to plainly state that the adoption

of the Land Use Plan by these officials is “racial cleansing” revealing “an intention to erase”

historic Black communities. [Doc. 29, ¶¶ 274-275]. This type of inflammatory rhetoric disguised

as historically significant facts is designed to evoke an emotional reaction rather than satisfy the

pleading requirements necessary to state the legal elements of any actionable claims.

       Despite the history lessons in its 151 pages and 612 paragraphs, the Complaint lacks a

sufficient factual basis to support or establish each element of Plaintiffs’ claims. It lacks sufficient

allegations to establish that these Plaintiffs have standing to bring the claims. It lacks allegations

that the elected officials who unanimously adopted the Land Use Plan and made decisions pursuant

to that plan are in fact motivated, even in part, by the discriminatory intent necessary to sustain

those claims. It even lacks allegations that any of these claims are asserted in a timely manner.

       Based on these historic allegations, some going back to 1685, and unsupported claims of

discriminatory intent, Plaintiffs attempt to paint the elected officials of St. James Parish as

possessing a discriminatory animus against their own citizens while seeking to have the Federal

judiciary disregard any notion of the separation of powers and assert absolute and continuing

authority over local land use decisions in St. James Parish, a function reserved for the local

legislative branch of government. This Court should see through this politically motivated pleading

and dismiss Plaintiffs’ Complaint with prejudice, awarding Defendant fees and costs.



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II.    LAW AND ARGUMENT

       A.      Plaintiffs’ Complaint Contains Immaterial, Impertinent, and Scandalous
               Allegations Which Should Be Stricken Pursuant to Rule 12(f).

       Federal Rules of Civil Procedure Rule 8 requires a “pleading that states a claim for relief

must contain: . . . (2) a short and plain statement of the claim showing that the pleader is entitled

to relief; and (3) a demand for the relief sought, which may include relief in the alternative or

different types of relief.” (Emphasis added). “In consideration of Rule (8)’s requirements the

Court notes statements in a complaint are not plain, where they are not clear and understandable

and not free of excessive embellishment and a complaint is not sufficiently short, where the

averments are not simple, concise, and direct.” Ibrahim v. Bernhardt, No. 19-CV-00101, 2020 WL

94877, at *4 (E.D. La. Jan. 8, 2020) (citing Atwood v. Humble Oil & Ref. Co., 243 F.2d 885, 888

(5th Cir. 1957)(emphasis added)). Similarly, a complaint that contains excessive and irrelevant

allegations may also violate Federal Rules of Civil Procedure Rule 10 where there is no attempt to

identify which facts are relevant to the claims, “if the theory and basis of counts are not

distinguishable[,] or if it is difficult to discern the legal claims asserted.” Desoto Grp., LLC v.

Linetec Servs., LLC, 339 F.R.D. 249, 251 (S.D. Miss. 2021).

       Fed. R. Civ. P. Rule 12(f) provides that a “court may strike from a pleading . . . any

redundant, immaterial, impertinent, or scandalous matter.” A motion to strike should be granted

when “the allegations are prejudicial to the defendant or immaterial to the lawsuit.” Frank v. Shell

Oil Co., 828 F. Supp. 2d 835, 852 (E.D. La. 2011). A motion to strike is particularly appropriate

when the irrelevant matter is scandalous and calculated to cause prejudice to the party about whom

it is written. See e.g., Alvarado-Morales v. Digital Equip. Corp., 843 F.2d 613 (1st Cir. 1988).

       Here, the Complaint contains immaterial, impertinent, and scandalous allegations and

assertions which embellish the Complaint, are prejudicial to Defendant, and create spurious issues


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requiring time and money to litigate. Despite its 151 pages and 612 paragraphs, the Complaint

lacks allegations indicating that the duly elected officials who unanimously voted for the Land

Use Plan in 2014 were in any way influenced or motivated by a discriminatory intent or the history

of slavery.

       The Complaint begins with a nineteen paragraph “Preliminary Statement.” It is a mixture

of historical statements, quotes from impassioned sermons, and vague discussions of the claims

brought. [Doc. 29, ¶¶ 1-19]. The “Preliminary Statement” discusses historical aspects of racism

including “system of chattel and slavery and the subsequent periods of violence, dispossession,

and residential segregation white people carried out during the post-Reconstruction periods of neo-

slavery and Jim Crow.” [Doc. 29, ¶ 3]. After the jurisdiction and parties, the Complaint then

includes a 522-paragraph “Factual Background” that discusses history as far back as 1685.

[Doc. 29, ¶¶ 29-551]. Only then, starting in paragraph 552, does the Complaint outline the causes

of action Plaintiffs purport to bring related to operative facts ostensibly beginning in 2014.

       The sheer volume of irrelevant and inflammatory statements makes it difficult to address

the allegations that should be stricken. Defendant will address Plaintiffs’ inappropriate paragraphs

by providing examples without a full recitation of each instance in the laborious Complaint.

               1.      The Complaint contains immaterial and impertinent allegations that
                       should be stricken.

       The Middle District of Louisiana differentiated between the four categories of

inappropriate material and defined immaterial and impertinent allegations as follows:

       “Immaterial” matter is that which “has no essential or important relationship to
       the claim for relief or the defenses being pleaded,” such as superfluous historical
       allegations, “or a statement of unnecessary particulars in connection with and
       descriptive of that which is material.” “Impertinent” matter overlaps with
       “immaterial” matter and “consists of statements that do not pertain, and are not
       necessary, to the issues in question.”



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Spoon v. Bayou Bridge Pipeline, LLC, 335 F.R.D. 468, 470–71 (M.D. La. 2020) (emphasis added).

       The Complaint contains 551 paragraphs of mostly historical discussions before the claims

brought by Plaintiffs are discussed.

       Paragraphs 41-68, titled “The Land Use System in St. James Parish Today Originated with

Colonial Development of the Territory and Depended on a Brutal System of Slavery,” are a

purported historical recitation of the origins of St. James Parish. [Doc. 29, ¶¶ 41-68]. This section

begins with the settlement of the lands by France and Spain as far back as 1682, the 1724 Code

Noir applied by French colonists to the Louisiana territory, the “Black Code” that went into effect

in 1806, the “severe physical punishments, pervasive sexual violence and exploitation” that took

place on sugarcane plantations, the slave uprising of 1811, the Civil War, and the abolishment of

slavery. [Doc. 29, ¶¶ 41, 42, 45, 49, 54, 55, 58-59, 67].

       Paragraphs 69-170, titled “The Civil War Ended Formal Chattel Slavery and Only

Momentarily Interrupted the Imbalance of Power and Control Over Land and Freedpeople,”

discuss the transition between pre-Civil War demographics, the unsuccessful Freedmen’s Bureau,

Louisiana’s “Black Code” of “laws intended to subjugate and control freedpeople,” the Military

Reconstruction Acts of 1867, the White League, and segregation in the 1950s and 1960s. [Doc. 29,

¶¶ 69, 70-79, 87-88, 124-125, 92, 95-99, 112-117, 126-130, 132-37, 169].

       Paragraphs 171-274, titled “1921 Constitution Continues Jim Crow Disenfranchisement of

Black Voters and Vests Local Governments with Authority Over Land Use,” starts with the

Louisiana Constitutional Amendment of 1921, then discusses the various industrial operations that

began in St. James Parish in the 1900s. [Doc. 29, ¶¶ 171, 188, 199, 203, 220, 249-50].

       These allegations have no bearing on the constitutional claims Plaintiffs purport to allege

arising out of St. James’ unanimous adoption of the land use plan. The allegations are included for



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the sake of sensationalizing this judicial proceeding and to prejudice St. James Parish by

attempting to superimpose the atrocities of history onto unrelated modern actions of the duly

elected St. James Parish government. Just a few of the many examples include the following:

    “As Inclusive Louisiana founding member Myrtle Felton told the Parish Council, ‘We have

     suffered enough. We don’t need anymore. The end result is death. All a Black neighborhood

     gets from a plant is death.’” [Doc. 29, ¶10].

    “‘[I]t is painful to see a land use map that so clearly signals the disregard of our lives and

     communities …clearing the way for more industry, more pollution, and more harm,’ wrote

     Sharon Lavigne, founder of Plaintiff Rise St. James, and Gail LaBoeuf, founding member of

     Plaintiff Inclusive Louisiana, in a 2019 letter to the St. James Parish Council requesting a

     moratorium on polluting industry.” [Doc. 29, ¶11].

    “Inclusive Louisiana founding member LeBoeuf sees the protection of these unmarked

     cemeteries as necessary in order to ‘allow us to heal.’ . . . So, as Ms. LeBoeuf protested to

     the Parish Council: ‘it is self-evident that all our ancestors live with and through us. These

     ‘slaves’ . . . should be given the respect and gratitude and debt that they never, ever received

     in life.’” [Doc. 29, ¶14].

    “In lamenting the legacies of violence, economic exploitation, and harm that slavery and its

     modern vestiges have imposed on his community, Pastor Joseph asked at a public hearing,

     ‘Why does it always have to be us?’ As he knows, it does not have to be. He and the other

     Plaintiffs come to court to claim the guarantee of full emancipation, political enfranchisement,

     and equality promised to them and their ancestors 150 years ago.” [Doc. 29, ¶19].

    “Former plantation owners and enslavers in St. James Parish were clear and explicit in their

     efforts to reestablish “white supremacy” and political control and domination in the Parish


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     after the war –including through the exclusion of or restrictions on Black property ownership

     or wealth creation. As detailed below, their efforts were successful.” [Doc. 29, ¶39].

       The Complaint has 274 paragraphs of historic allegations, including allegations regarding

industrial activities occurring decades before the Land Use Plan was even adopted. [See e.g.,

Doc. 29, ¶¶181, 187, 199, 203, 214, and 219.] The Complaint also references a 2003 study that

predates the Land Use Plan [doc. 29, ¶¶260 - 274] and does not show or prove that there was any

discriminatory intent by St. James Parish. This “history” is irrelevant to the claims asserted. At a

bare minimum, all allegations before Paragraph 275 should be stricken.

       Beginning at Paragraph 275, the Complaint finally addresses the 2014 Land Use Plan

unanimously adopted and implemented by the St. James Parish Council. Even thereafter, the

Complaint continues to assert immaterial facts through its 551-paragraph recitation.

       In all, this Complaint is an exhaustive review of historical wrongs which do not give rise

to any causes of action. There is no fact pled which indicates that local officials were motivated

by slavery or a discriminatory intent to adopt the Land Use Plan in 2014 or make any decision

thereafter. The Federal Rules of Civil Procedure only allow those wrongs directly committed by

the named defendant to be brought before this Court for adjudication and, even then, those claims

are constricted as detailed below.

               2.      Plaintiffs sensationalize their claims with scandalous allegations.

       “‘Scandalous’ in Rule 12(f) ‘generally refers to any allegation that unnecessarily reflects

on the moral character of an individual or states anything in repulsive language that detracts from

the dignity of the court.’” Florance v. Buchmeyer, 500 F. Supp. 2d 618, 645 (N.D. Tex. 2007)

(citing Cobell v. Norton, 224 F.R.D. 266, 280 (D.D.C.2004)). As a Louisiana court clarified:

       Finally, “scandalous” matters improperly casts a derogatory light on someone,
       most typically on a party to the action, but “it is not enough that the matter offends


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           the sensibilities of the objecting party” or the person who is the subject of the
           statements in the pleading, “if the challenged allegations describe acts or events
           that are relevant to the action.”

Spoon, 335 F.R.D. at 470–71 (emphasis added).

           Plaintiffs go so far as to state that the 2014 Land Use Plan adopted by St. James Parish is

“Racial Cleansing.” [Doc. 29, ¶¶275, 286]. Also known as “ethnic cleansing,” this term has been

cited by the United Nations to describe “a purposeful policy designed by one ethnic or religious

group to remove by violent and terror-inspiring means the civilian population of another ethnic or

religious group from certain geographic areas” with coercive practices including “murder, torture,

arbitrary arrest and detention, extrajudicial executions, rape and sexual assaults, severe physical

injury to civilians, confinement of civilian population in ghetto areas, . . . among others.”1 The

Complaint’s use of this terminology, without any semblance of justification, “improperly casts a

derogatory light” on St. James Parish.

           Plaintiffs also assert numerous scandalous allegations which are not legally connected to

their attempted causes of action. Examples include the following:

        “Sugarcane plantations across the River Parishes enforced especially brutal forms of labor

         upon enslaved persons, resulting in even higher mortality rates than in other states, including

         high mortality rates for children. And those enslaved people were not free in death just as

         they were not free in life.” [Doc. 29, ¶12].

        “It is, too, a legacy of slavery and white supremacy in Louisiana and St. James Parish

         specifically to disregard the political voice of Black communities and discount the physical,

         psychological, and emotional trauma imposed upon them for the profit and benefit of white

         communities.” [Doc. 29, ¶11].


1
    https://www.un.org/en/genocideprevention/ethnic-cleansing.shtml


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    “The most well-known facet of neo-slavery and social and political control in Louisiana was

     the generations-long effort to completely disenfranchise Black persons – until deemed

     unconstitutional in 1963. In addition, the land use system in St. James Parish is a parallel

     aspect of efforts to maintain a system of white supremacy.” [Doc. 29, ¶38].

    “The delegates to the 1898 convention thus ushered in a form of apartheid long before that

     term emerged in South Africa and came to be understood as a crime against humanity.” [Doc

     29, ¶157].

    “Far worse, they revealed an intention to erase these historic Black communities from the

     map completely.” [Doc 29, ¶274].

       Defendants request that this Court strike Plaintiffs’ immaterial, impertinent, and

scandalous allegations which include nearly all of Paragraphs 1-551.

       A.      Plaintiffs’ Complaint Fails to Plead Standing and Should be Dismissed
               Pursuant to Rule 12(b)(1) for a Lack of Subject Matter Jurisdiction.

       “The party asserting jurisdiction must carry the burden of proof for a Rule 12(b)(1) motion

to dismiss, which is the proper method with which to bring a motion to dismiss for lack of

standing.” Harrison v. Safeco Ins. Co. of Am., No. 06-4664, 2007 WL 1244268, at *3 (E.D. La.

Jan. 26, 2007). When analyzing a motion to dismiss for want of standing, “the trial and reviewing

courts must accept as true all material allegations of the complaint, and must construe the

complaint in favor of the complaining party.” Warth v. Seldin, 422 U.S. 490, 501 (1975).

               1.      Standing requires injury, causation, and redressability.

       The Supreme Court has discussed the fundamental nature of standing as follows: “In

essence the question of standing is whether the litigant is entitled to have the court decide the

merits of the dispute or of particular issues. This inquiry involves both constitutional limitations

on federal-court jurisdiction and prudential limitations on its exercise.” Id. at 498. “In both


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dimensions it is founded in concern about the proper—and properly limited—role of the courts in

a democratic society.” Id. The Supreme Court also noted: “This is the threshold question in every

federal case, determining the power of the court to entertain the suit. As an aspect of justiciability,

the standing question is whether the plaintiff has ‘alleged such a personal stake in the outcome of

the controversy’ as to warrant his invocation of federal-court jurisdiction and to justify exercise of

the court’s remedial powers on his behalf.” Id. at 498–99.

       As the Fifth Circuit has recognized, “[i]f a plaintiff lacks Article III standing, then a federal

court lacks jurisdiction to hear the complaint.” Delta Com. Fisheries Ass’n v. Gulf of Mexico

Fishery Mgmt. Council, 364 F.3d 269, 272 (5th Cir. 2004). To have Article III standing, a plaintiff

must clearly allege that they have: (1) injury in fact—“a harm suffered by the plaintiff that is

concrete and actual or imminent, not conjectural or hypothetical”—(2) causation—“a fairly

traceable connection between the plaintiff’s injury and the complained-of conduct of the

defendant”—and (3) redressability—“a likelihood that the requested relief will redress the alleged

injury.” Servicios Azucareros de Venezuela, C.A. v. John Deere Thibodeaux, Inc., 702 F.3d 794,

799 (5th Cir. 2012) (internal quotation marks omitted).

       Here, Plaintiffs are asserting associational standing. “The Association, as the party

invoking federal jurisdiction, bears the burden of establishing the three familiar elements of Article

III standing: injury in fact, causation, and redressability.” Delta Com. Fisheries Ass’n, 364 F.3d at

272 (citations omitted).

               2.      Plaintiffs have not pled injury, causation, or redressability.

       Discussing the two types of associational standing, the Western District of Louisiana

explained:

       An organization can assert standing in two ways. First, an organization can base its
       standing on the standing of its individual members (“representational standing”).


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       For representational standing, an organization must show that “(1) its members
       would otherwise have standing to sue in their own right; (2) the interests it seeks to
       protect are germane to the organization’s purpose; and (3) neither the claim asserted
       nor the relief requested requires the participation of individual members.” Second,
       an organization can base standing on an injury to that organization itself—such as
       incurring a non-litigation expense or curtailing its activities as a result of the
       challenged action (“organizational standing”). Organizational standing requires
       that an organization plaintiff establish the elements of Article III standing (injury,
       causation, and redressability) on its own.

Hat v. Landry, No. 6:20-CV-00983, 2021 WL 1823089, at *8 (W.D. La. May 5, 2021) (dismissing

Rise St. James for lack of standing).

       The United States Supreme Court decision in Warth v. Seldin, 422 U.S. 490 (1975) is

instructive. In Warth, eight individuals and three associations sought to bring claims in federal

court against a town and its zoning and planning board alleging violations of constitutional rights,

including the fourteenth amendment, in violation of 42 U.S.C. §1982 and §1983. Id. at 493. The

complaint alleged that the town’s zoning ordinance had “the purpose and effect of excluding

person of low and moderate income from residing in the town.” Id. at 495. The plaintiffs asked the

court to declare the “ordinance unconstitutional, to enjoin the defendants from enforcing the

ordinance, and to order the defendants to enact and administer a new ordinance designed to

alleviate the effects of their past actions.” Id. at 496. The district court dismissed the lawsuit based

on a lack of standing. Id. at 493.

       In reviewing standing, the Supreme Court explained as to an association, “[t]here is no

question that an association may have standing in its own right to seek judicial relief from injury

to itself and to vindicate whatever rights and immunities the association itself may enjoy.

Moreover, in attempting to secure relief from injury to itself the association may assert the rights

of its members, at least so long as the challenged infractions adversely affect its members’

associational ties.” Id. at 511. Important to an associational standing analysis, an organization can



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“not establish their standing simply on the basis of that goal. Our decisions make clear that an

organization’s abstract concern with a subject that could be affected by an adjudication does not

substitute for the concrete injury required by Art. III. Insofar as these organizations seek standing

based on their special interest . . . their complaint must fail.” Simon v. E. Kentucky Welfare Rts.

Org., 426 U.S. 26, 39–40 (1976) (citations omitted).

       “Even in the absence of injury to itself, an association may have standing solely as the

representative of its members.” Warth, 422 U.S. at 511. Standing then “turns upon whether any

individual respondent has established an actual injury, or whether the respondent organizations

have established actual injury to any of their [] members.” Id. “The association must allege that its

members, or any one of them, are suffering immediate or threatened injury as a result of the

challenged action of the sort that would make out a justiciable case had the members themselves

brought suit.” Id.

       Here, Plaintiffs are associations, not individuals. Hence, Plaintiffs must properly allege the

elements of either organizational standing or representational standing. They have done neither.

       Plaintiffs’ alleged injuries can be summarized into three categories: 1) decreased property

values, 2) health injury purportedly related to environmental emissions from industrial facilities,

and 3) religious injury related to the inability to pray on other’s property at purported slave

cemeteries. These purported injuries belie Plaintiffs’ theories of standing.

                       a.      The purported decreased property values are not caused by or
                               regulated by St. James Parish.

       Plaintiffs assert a decrease in property values as an alleged injury caused by adoption of a

Land Use Plan. Plaintiffs allege “St. James Parish land use practices intentionally continue to

deplete property values of Black residents while protecting that of white residents.” [Doc. 29, ¶

15]. Without specifics, Plaintiffs alleged “[]the discriminatory land use system has also resulted in


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diminution in the value of property owned by Plaintiffs, their members and congregants, . . . and

by other Black residents, churches, and associations in the 4th and 5th Districts of St. James

Parish,” and “places limitations on the ability of some members of Plaintiff Inclusive Louisiana

residing in the 4th District to sell, hold, and convey their property . . .” [Doc. 29, ¶ 559, 580].

       To establish standing, “Plaintiffs’ alleged injury must be ‘concrete and particularized’ and

‘actual or imminent, not conjectural or hypothetical.’ ‘Allegations of possible future injury’ will

not suffice.” Louisiana by & through Landry v. Biden, 64 F.4th 674, 680–81 (5th Cir. 2023)

(citations omitted). A “concrete” injury is “real, and not abstract” and a “particularized” injury

“affect[s] the plaintiff in a personal and individual way.” Campaign Legal Ctr. v. Scott, 49 F.4th

931, 935, n. 3, 4 (5th Cir. 2022) (citing Spokeo, Inc. v. Robins, 578 U.S. 330, 338–39 (2016), as

revised (May 24, 2016)).

       The Warth decision is instructive on the injury analysis. The Supreme Court clarified that,

“the fact that these petitioners share attributes common to persons who may have been excluded

from residence in the town is an insufficient predicate for the conclusion that petitioners

themselves have been excluded, or that the respondents’ assertedly illegal actions have violated

their rights.” Warth, 422 U.S. at 502. “Instead, petitioners claim that respondents’ enforcement of

the ordinance against third parties—developers, builders, and the like—has had the consequence

of precluding the construction of housing suitable to their needs at prices they might be able to

afford.” Id. at 504. Importantly, Plaintiffs “must allege and show that they personally have been

injured, not that injury has been suffered by other, unidentified members of the class to which

they belong and which they purport to represent.” Id. at 502 (emphasis added).




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       Inclusive Louisiana and Rise St. James do not allege ownership of property in District 4 or 5

of St. James Parish. They, therefore, lack organizational standing and must prove representational

standing.

       Mount Triumph Baptist Church and Plaintiffs’ individual members’ alleged property value

claims have not been pled with any specificity. To establish injury, facts must be alleged “from

which it reasonably could be inferred that, absent the respondents’ restrictive zoning practices,

there is a substantial probability that they would have been able to” sell their property at higher

values and “that, if the court affords the relief requested, the asserted inability of petitioners will

be removed.” Id. at 504. No such allegations are present. The Complaint alleges diminution of

property values in broad strokes and alleges generalized harm to unidentified persons.

       Even where Plaintiffs could plead individual decreases in property values of its members,

“the damages claims are not common to the entire membership, nor shared by all in equal degree.

To the contrary, whatever injury may have been suffered is peculiar to the individual member

concerned, and both the fact and extent of injury would require individualized proof.” Warth, 422

U.S. at 515–16. As such, Plaintiffs’ alleged injuries require participation of individual members

and cannot support representational standing.

       Here, Plaintiffs have not pled a connection between the alleged bad acts and the purported

injury to support causation. As discussed in Warth, “there remains the question whether

petitioners’ inability to locate suitable housing in Penfield reasonably can be said to have resulted,

in any concretely demonstrable way, from respondents’ alleged constitutional and statutory

infractions.” Id. at 503. “In short, the facts alleged fail to support an actionable causal relationship

between Penfield’s zoning practices and petitioners’ asserted injury.” Id. at 506–07. Plaintiffs have




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not alleged a causal connection between the adoption and application of a Land Use Plan and a

decrease in property values.

       Redressability is also not present. In Warth, the Supreme Court found that the plaintiffs

were not able to demonstrates that, “unless relief from assertedly illegal actions was forthcoming,

their immediate and personal interests would be harmed.” Id. at 507. Resonating strongly for the

present issues, the Supreme Court declared: “We hold only that a plaintiff who seeks to challenge

exclusionary zoning practices must allege specific, concrete facts demonstrating that the

challenged practices harm him, and that he personally would benefit in a tangible way from the

court’s intervention. Absent the necessary allegations of demonstrable, particularized injury, there

can be no confidence of ‘a real need to exercise the power of judicial review’ or that relief can be

framed ‘no (broader) than required by the precise facts to which the court’s ruling would be

applied.’” Id. at 508.

       Here, the “inability” of Plaintiffs or its members to maintain property values will not be

“removed” if the 2014 Land Use Plan is invalidated. As detailed in the Complaint, in the 93 years

prior to the Land Use Plan, private owners sold their large plots of land to private companies which

then built the industrial facilities Plaintiffs claim are causing them harm. [Doc. 29, ¶ 180, 267,

275]. Thus, to the extent property values were reduced by industrial development, such reduction

began well prior to the adoption of the 2014 Land Use Plan.

       Further, the invalidation of the Land Use Plan does not guarantee the lack of future

industrial construction and does nothing to “redress” the alleged diminution in property value. The

lack of a formal Land Use Plan does not prevent industrial construction or private companies from

seeking land use permits; rather, they would do so under less formalized rules and procedures.




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                        b.      The purported health impacts are not caused by or regulated by
                                St. James Parish.

        Plaintiffs are organizations. They do not have “health” and cannot assert this injury. Thus,

each Plaintiff can only assert representational standing by alleging “its members, or any one of

them, are suffering immediate or threatened injury as a result of the challenged action of the sort

that would make out a justiciable case had the members themselves brought suit.” Warth, 422 U.S.

at 511. “[T]he ‘case or controversy’ limitation of Art. III requires that a federal court act only to

redress injury that fairly can be traced to the challenged action of the defendant, and not injury that

results from the independent action of some third party not before the court.” Simon, 426 U.S. at

41–42. Plaintiffs failed to make this showing that the Land Use Plan adopted by St. James Parish

is the cause of an injury to its members that can be redressed by this Court.

        Defendant need not address whether the environmental emissions specifically discussed by

Plaintiffs [doc. 29, ¶¶ 442-460] cause actual health concerns because St. James Parish is not an

environmental regulatory authority or health authority. It does not establish, set, or enforce

emission levels in the environmental permits issued by the Louisiana Department of

Environmental Quality (LDEQ).2 In fact, the Complaint acknowledges that the authority for

emissions does not originate from St. James Parish, stating Mosaic “is permitted by federal and

state agencies to emit more than 790 tons of criteria pollutants and more than 700 tons of toxic air

pollutants annually.” [Doc. 29, ¶197].

        Instead, the alleged emissions are permitted by LDEQ and created and caused by third

party property owners, not St. James Parish. St. James Parish does not produce environmental

emissions. Only when the private project receives an air quality permit from the LDEQ can that


2
 The LDEQ “shall have jurisdiction over … the regulation of air quality.” La. R.S. 30:2011(A)(1). LDEQ is
empowered to “grant or deny permits.” La. R.S. 30:2011(D)(2); see also, La. R.S. 30:2054(B)(2).


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private owner create, cause, and/or produce environmental emissions. Any issue with the quantity,

quality, or content of those emissions is regulated by the LDEQ.

       In regard to the alleged health injury, the “challenged action” is the decision of St. James

Parish to adopt a Land Use Plan in 2014 and its implementation. However, the actions that

Plaintiffs describe as purportedly causing health issues for its members are environmental

emissions from industrial facilities. [See, e.g., Doc. 29, ¶¶ 200, 204, 250].

       The Complaint pleads that emissions began in the 1950s and 1960s and were largely

unregulated before 1984. [Doc. 29, ¶205]. These health impacts are alleged to have “become

glaring and undeniable” by the 1980s [doc. 29, ¶206], and, thus, are completely unrelated to the

Land Use Plan. Additionally, there are several allegations in the Complaint that discuss future or

potential harm, such as harm from the Formosa facility which has not been built. [See Doc. 29,

¶¶7, 403, 404]. There is an utter lack of causal connection between the Land Use Plan and

Plaintiffs’ members’ alleged health issues. Plaintiffs must plead facts to show that St. James

Parish’s consideration of a zoning request is causing its members to suffer immediate or threatened

health injury. Such facts have not been, and cannot be, pled.

       Plaintiffs also fail to plead redressability. An invalidation of the Land Use Plan would not

redress the complaint about health impacts. For harm already sustained, a change in zoning

ordinance has no impact on a person’s health. For future harms, the alleged future injury is not

present or actionable. Without causation and redressability, Plaintiffs have not alleged claims of

their members that would allow them associational standing.

                       c.      The purported religious injuries are not caused or regulated by
                               St. James Parish.

       Plaintiffs also allege that “the land use policies threaten innumerable cemeteries of

formerly enslaved persons” and “construction of facilities the Parish has already allowed will


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potentially desecrate cemeteries with deep spiritual significance to descendants, . . .” [Doc. 29, ¶¶

12, 14]. In essence, Plaintiffs claim their religious worship has been limited by their inability to

access purported unmarked remains on private property.

        Plaintiffs, as associations, have no religion and must prove representational standing

through members. As to Inclusive Louisiana and Rise St. James, it is questionable whether these

associations can pursue religious injury. Certainly, their members’ specific religions are not related

to their “associational ties” such that these entities can seek to enforce religious rights. Also,

Plaintiffs amended their Complaint to add in allegations such as Inclusive Louisiana is a non-profit

“with deep belief in the Christian faith,” and RISE St. James “begins and ends each of its meetings

with prayer.” [Doc. 29, ¶ 23, 25]. These additional allegations are insufficient to show that a failure

to access alleged burial sites on private property is creating an injury in-fact to these associations.

Rather, it is clear that RISE St. James has not been prevented from carrying out its worship

activities, as it held “an All Saints’ Day celebration at the Buena Vista site” in 2020. [Doc. 29, ¶

534].

        Regardless, all three Plaintiffs failed to allege an immediate harm or injury to their

members that is caused by a challenged action of St. James Parish. Plaintiffs’ attempt to cast blame

without regard to temporal or logical connexity fails here.

        As pled in the Complaint, the purported unmarked remains and slave burial sites are alleged

to be located on former plantations. These plantations were owned by private parties and,

throughout the centuries, have been sold from private party to private party. It is not alleged that

St. James Parish owns any of the property on which Plaintiffs allege a burial site may exist. Rather,

it is alleged that St. James Parish is allowing those private property owners to utilize their property




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in a manner that may impact unmarked remains. As before, St. James Parish does not authorize,

regulate, or permit the use of land containing cemeteries.3

        St. James Parish’s zoning of privately owned land is not directly the cause of any person’s

inability to access a cemetery. Even without a permit for industrial construction, it is the private

ownership of that land that makes access to any purported cemetery difficult (as it would be

considered trespassing). See La. R.S. § 8:681 (“Any agreement by the owner of the property to

leave the unmarked burial site undisturbed shall not constitute consent on the owner’s part to allow

relatives of the deceased or any other interested parties free access to the site without the owner’s

permission.”). Thus, there is neither causation nor redressability, and Plaintiffs lack

representational standing.

        B.       Plaintiffs’ Complaint Fails to State Claims and Should be Dismissed Pursuant
                 to Rule 12(b)(6).

                 1.      St. James Parish Council and St. James Parish Planning Commission
                         lack procedural capacity to be sued.

        This Court has previously explained the consideration of a lack of procedural capacity

argument on a Rule 12 motion as follows:

        Rule 12(b) does not specifically authorize a motion to dismiss based on a lack of
        capacity to be sued. However, “[f]ederal courts … traditionally have entertained
        certain pre-answer motions that are not expressly provided for by the rules or by
        statutes” including motions raising a lack of capacity to sue or be sued. 5C Charles
        Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1360 (3d ed.
        2004). Furthermore, “[t]he Fifth Circuit has implicitly approved 12(b) motions
        arguing the lack of capacity to be sued.” Angers ex rel. Angers v. Lafayette Consol.
        Gov’t, 07-0949, 2007 WL 2908805, at *1 (W.D. La. Oct. 3, 2007).




3
 The Division of Archaeology is responsible for protecting and preserving abandoned cemeteries, unmarked graves,
and human remains under the Unmarked Human Burial Sites Preservation Act (La. R.S. 8:671-681) and the Louisiana
Historic Cemetery Preservation Act (La. R.S. 25:931-943). See also https://www.crt.state.la.us/cultural-
development/archaeology/CRM/cemeteries-burials/index


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Port Marigny, LLC v. City of Mandeville, No. CV 17-4727, 2018 WL 1757385, at *3 (E.D. La.

Apr. 12, 2018).

       The Federal Rules of Civil Procedure direct that the capacity of an entity which is neither

an individual nor a corporation to be sued in federal court is determined by state law. Fed. R. Civ.

P. 17(b)(3). Under Louisiana law, “[t]here are two kinds of persons: natural persons and juridical

persons. A natural person is a human being. A juridical person is an entity to which the law

attributes personality, such as a corporation or a partnership.” La. C. C. Art. 24. A governmental

entity is an independent juridical entity when “the organic law grants it the legal capacity to

function independently and not just as the agency or division of another governmental entity.”

Edmiston v. Louisiana Small Bus. Dev. Ctr., 931 F.3d 403, 407 (5th Cir. 2019). In Roberts v.

Sewerage and Water Board, 634 So. 2d 341 (La. 1994), the Louisiana Supreme Court set forth the

framework within which to determine whether an entity is a juridical person.

       [T]he determination that must be made in each case is whether the entity can appropriately
       be regarded as an additional or separate government unit for the particular purpose at issue.
       In the absence of positive law to the contrary, a local government unit may be deemed to
       be a juridical person separate and distinct from other government entities, when the organic
       law grants it the legal capacity to function independently and not just as the agency or
       division of another governmental entity.

634 So.2d 341, 346-47 (La. 1994).

       Here, the St. James Parish Council and the St. James Parish Planning and Zoning

Commission are mere branches and divisions of St. James Parish. They are not separate

independent legal entities with the capacity to sue or be sued.

       This Court’s reasoning in Dotey v. Tangipahoa Par. Council, No. CV 05-4018, 2006 WL

8456326, at *2 (E.D. La. Apr. 17, 2006), is directly appliable here. In Dotey, Tangipahoa Parish

Council contended it was not a juridical person with the capacity to be sued. The Parish Council

argued that it is one branch of the Parish government, and that the proper defendant was the Parish


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of Tangipahoa, not one branch of government. The Parish of Tangipahoa is a political subdivision

of the State of Louisiana that operates under a Home Rule Charter, pursuant to Article VI § 5 of

the Louisiana Constitution. The Tangipahoa Home Rule Charter provides for a “council-president”

form of government. The Parish Council constitutes the legislative branch of government, and an

elected president is the chief executive officer and the head of the executive branch. Id.

        The Dotey Court relied upon City Council of Lafayette v. Bowen, 649 So.2d 611, 616 (La.

Ct. App. 1994), where Louisiana’s Third Circuit Court of Appeal found that the City Council of

Lafayette, which was organized under a home rule charter, had no capacity to sue or be sued. The

Court of Appeal concluded that the City Council is “a branch or part of the greater corporate body

politic or juridical entity, the City of Lafayette,” and may “only exercise its powers as an agency

or division of the greater city government.” Bowen, 649 So.2d at 616. As in Bowen, this Court

found in Dotey that there is no authority that confers juridical personality on the Tangipahoa Parish

Council because the Parish Council is not capable of being sued under state law. Thus, the claims

against the Parish Council were dismissed. Dotey, 2006 WL 8456326 at *2.

        The governmental structure in St. James is identical to Tangipahoa. The St. James Parish

Home Rule Charter provides that the Parish Council is “vested with…all legislative power in the

Parish of St. James” and “the chief executive officer shall be the parish president who shall be

elected . . .” See St. James Home Rule Charter, Article III, Sec. A(1) and Sec. B(1), respectively.4

The St. James Home Rule Charter does not vest the Parish Council or the Planning Commission

with the express authority to sue or be sued. As such, all claims against “St. James Parish Council”

and “St. James Planning Commission” should be dismissed.



4
 A copy of the Home Rule Charter can be accessed at:
https://library.municode.com/la/st._james_parish_council/codes/code_of_ordinances?nodeId=PTIHORUCH


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               2.      Plaintiffs failed to exhaust administrative remedies and collaterally
                       attack the zoning decisions of St. James Parish.

       Plaintiffs attempt to collaterally attack permit decisions. These attacks are foreclosed by

Plaintiffs’ failure to seek judicial review of these decisions within the appropriate time frames.

       “Zoning is a legislative function. The authority to enact zoning regulations flows from the

police power of the various governmental bodies.” Palermo Land Co. v. Plan. Comm’n of

Calcasieu Par., 561 So. 2d 482, 491 (La. 1990). The Louisiana Supreme Court elaborated, stating:

       The differing needs of each parish, according to its size, population, level of
       industrial and commercial development, and the rapidity of growth of such
       development, will naturally result in different planning and zoning regulations in
       each parish. The need for change through rezoning or reclassification will depend
       on the same factors, thus rezoning decisions are properly left to those officials who
       are most familiar with the needs of each community.

Id. at 492. “The presumption of validity attached to zoning ordinances is a well established

principle of law in Louisiana.” Id. at 491.

       “Challenges to zoning determinations are first subject to the review by local zoning

boards.” E. New Orleans Neighborhood Advisory Comm'n v. Levy Gardens Partners 2008, LLC,

2009-0326 (La. App. 4 Cir. 7/15/09), 20 So. 3d 1131, 1137. As the Louisiana Supreme Court

explained, “It is not the province of the courts to take issue with the council. We have nothing to

do with the question of the wisdom or good policy of municipal ordinances. If they are not

satisfying to a majority of the citizens, their recourse is to the ballot—not the courts.” Palermo

Land Co, 561 So. 2d at 491 (citing State ex rel. Civello v. City of New Orleans, 154 La. 271, 97

So. 440 (La. 1923)). “Judicial review of zoning decisions acts merely as a check on this legislative

power granted to parish officials to ensure that there is no abuse of the power. Courts will not and

cannot substitute their judgment for that of the legislative authority.” Id. at 492.




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           Specific to the St. James Parish Land Use Plan, this Court has previously declined to review

specific permitting decisions (which invoke state law), noting “[m]atters such as land use are of

local concern and are best left to the province of the states to decide.” Petroplex Int’l v. St. James

Par., 158 F. Supp. 3d 537, 544 (E.D. La. 2016) (dismissing plaintiffs’ state law challenges to St.

James Parish Land Use Plan).

           Here, Plaintiffs attempt to collaterally attack permitting decisions made by St. James

Parish. Plaintiffs ask this Court to usurp the authority of St. James Parish and “[i]ssue a judgment

declaring the land use approvals granted to Formosa and South Louisiana Methanol invalid.” [Doc.

29, p. 147]. South Louisiana Methanol’s land use permit was approved on April 23, 2014, and

Formosa’s permit was approved on January 24, 2019. [Doc. 29, ¶ 355, 397]. The Land Use Plan

was amended in February 2018 and included a requirement that judicial review of a decision under

the Land Use Plan must be brought within 30 days of the decision. See St. James Parish Ordinance

No. 82-25, as amended by Ordinance 17-21.5 Thus, Plaintiffs’ opportunity to judicially challenge

the permits noted in the Complaint has long since passed.

           Also, Plaintiffs mention permits issued to Bayou Bridge Pipeline, LLC (permit granted

August 23, 2017), Yuhuang Chemical Industries Inc. Methanol (permit granted March 25, 2015),

Ergon St. James, Inc. (permit approved August 8, 2018), and Syngas Energy Holding, LLC (permit

approved March 25, 2019). [Doc. 29, ¶¶ 364, 410, 417, 419]. Attempts to invalidate these land use

permits are inappropriate due to the failure to timely address them under judicial review

procedures. As such, this Court should dismiss any request for relief related to these permits.

                   3.       Claim I: Thirteenth Amendment

           The Thirteenth Amendment to the United States Constitution states:


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    See https://library.municode.com/la/st._james_parish_council/ordinances/code_of_ordinances?nodeId=881278.


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           Section 1. Neither slavery nor involuntary servitude, except as a punishment for
           crime whereof the party shall have been duly convicted, shall exist within the
           United States, or any place subject to their jurisdiction.
           Section 2. Congress shall have power to enforce this article by appropriate
           legislation.

U.S. Const. amend. XIII. “The primary purpose of the Amendment was to abolish the institution

of African slavery as it had existed in the United States at the time of the Civil War, but the

Amendment was not limited to that purpose; the phrase ‘involuntary servitude’ was intended to

extend ‘to cover those forms of compulsory labor akin to African slavery which in practical

operation would tend to produce like undesirable results.’” United States v. Kozminski, 487 U.S.

931, 942 (1988) (citations omitted).

           In 1883, the Supreme Court interpreted the Thirteenth Amendment by stating: “it is

assumed that the power vested in Congress to enforce the article by appropriate legislation [Section

2], clothes Congress with power to pass all laws necessary and proper for abolishing all badges

and incidents of slavery in the United States. . .” Civil Rights (C.R.) Cases, 109 U.S. 3, 20 (1883).

Plaintiffs’ Thirteenth Amendment claims have not pled any deprivation of rights that is a “badge

or incident of slavery.”6

                              a.       Plaintiffs’ 42 U.S.C. § 1983 claims are prescribed.

           Plaintiffs bring their Thirteenth Amendment claims pursuant to 42 U.S.C 1983. [Doc. 29,

¶15]. Congress failed to provide a specific statute of limitations to govern § 1983 actions. Owens

v. Okure, 488 U.S. 235, 239 (1989). As such, the Supreme Court, in interpreting the provisions of

42 U.S.C. 1988, stated that the analogous state statute of limitations should be applied to § 1983

claims. Id. at 240 (citing Wilson v. Garcia, 471 U.S. 261 (1985)). The Supreme Court in Owens

confirmed that “courts considering § 1983 claims should borrow the general or residual statute for


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    Plaintiffs cite no applicable statute passed by Congress pursuant to Section 2.


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personal injury actions.” Id. at 250. The Fifth Circuit has consistently applied a state’s general

personal injury statute of limitations to § 1983 claims. See, e.g. Allen v. Hays, 65 F.4th 736, 751

(5th Cir. 2023). “Louisiana’s relevant limitations period is one year.” Stringer v. Town of

Jonesboro, 986 F.3d 502, 509 (5th Cir. 2021).

       Here, Plaintiffs’ claims are prescribed. All actions of the Parish are public record and

published soon after their occurrence. The Land Use Plan was publicly adopted in 2014 [doc. 29,

¶275], and amended in 2018 [doc. 29, ¶300]. The numerous permitting decisions discussed in the

Complaint also occurred well outside of the prescriptive period. The most recent permit actions

mentioned occurred no later than 2019. [Doc. 29, ¶275]. The Complaint was filed March 21, 2023.

Thus, any action under §1983 or the Thirteenth Amendment has prescribed.

                       b.      Plaintiffs failed to plead facts of a badge or incident of slavery.

       In 1883, the Supreme Court described the incidents of slavery as “[c]ompulsory service of

the slave for the benefit of the master, restraint of his movements except by the master’s will,

disability to hold property, to make contracts, to have a standing in court, to be a witness against a

white person, and such like burdens and incapacities were the inseparable incidents of the

institution.” C.R. Cases, 109 U.S. 3, 22 (1883). The Supreme Court continued by making the point

that many wrongs that might violate an individual’s right to equal protection under the Fourteenth

Amendment were not wrongs actionable under the Thirteenth Amendment as “badges and

incidents of slavery” “when not involving the idea of any subjection of one man to another.” Id.

at 24. The Supreme Court demonstrated its point by declaring that the unequal treatment of Blacks,

through the denial based on race of an accommodation or privilege to use an inn, public




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conveyance, or theater, “has nothing to do with slavery or involuntary servitude.” Id. at 24.7 “It

would be running the slavery argument into the ground to make it apply to every act of

discrimination . . .” Id. “[C]ourts routinely reject Thirteenth Amendment claims that do not involve

forced or coerced labor.” Guesby v. Bert Nash Cmty. Mental Health Ctr., Inc., No. 22-2370-DDC-

TJJ, 2023 WL 3040454, at *2 (D. Kan. Apr. 21, 2023).

        “[T]he theme of the debates surrounding this statute is that the former slaves continued to

be subject to direct, intentional abuses at the hands of their former masters. That was the problem

Congress intended to address and that focus should determine the reach and scope of this statute.”

City of Memphis v. Greene, 451 U.S. 100, 134 (1981) (White, J., concurring).

        A facially neutral zoning ordinance, even one that might disparately impact minorities, is

not a “badge or incident of slavery” subject to protections under the Thirteenth Amendment. In

Palmer v. Thompson, the Supreme Court rejected the notion that a city council decision to close a

public pool was a “badge or incident” of slavery as a violation of the Thirteenth Amendment,

finding to hold such “would severely stretch its simple words and do violence to its history.”

Palmer v. Thompson, 403 U.S. 217 (1971). Importantly, the Supreme Court stated: “[e]stablishing

this Court’s authority under the Thirteenth Amendment to declare new laws to govern the

thousands of towns and cities of the country would grant it a law-making power far beyond the

imagination of the amendment’s authors.” Id. at 226–27.

        The Supreme Court clarified “a regulation’s adverse impact on a particular neighborhood

will often have a disparate effect on an identifiable ethnic or racial group. To regard an inevitable




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  The Court confirmed such a wrong would properly be addressed through present state laws or, if sanctioned by state
law, through the Fourteenth Amendment, but not the Thirteenth Amendment. See C.R. Cases, 109 U.S. at 24 (1883).


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consequence of that kind as a form of stigma so severe as to violate the Thirteenth Amendment

would trivialize the great purpose of that charter of freedom.” City of Memphis, 451 U.S. at 128.

       Here, the passing of a zoning ordinance and its implications that may have an adverse

impact on specific districts is a “routine burden of citizenship” and not a violation of the Thirteenth

Amendment. See id. at 128. The Land Use Plan cannot be said to implement compulsory labor for

the benefit of a master, to restrain movements, or “such like burdens and incapacities [which] were

the inseparable incidents of the institution [of slavery].” C.R. Cases, 109 U.S. at 22 (1883). The

Land Use Plan does not involve the “subjection of one man to another.”

       Plaintiffs attempt to draw a connection between slavery and the 2014 Land Use Plan since

“plantations that once existed in the Parish had been sold for development and were home to heavy

industry.” [Doc. 29, ¶ 267]. Yet, the sales of large tracts of land to industry were done by private

parties, not St. James Parish. At a minimum, this severs any potential causal chain between the

Land Use Plan and the geographic composition that arose in St. James Parish after the end of

slavery. No part of the Land Use Plan or parish permitting decisions is akin to the involuntary

servitude prohibited by the Thirteenth Amendment. Plaintiffs’ utilization of the Thirteenth

Amendment here “would severely stretch its simple words and do violence to its history.”

               4.      Claim II/III: Fourteenth Amendment

       In pertinent part, the Fourteenth Amendment states:

       Section 1. All persons born or naturalized in the United States, and subject to the
       jurisdiction thereof, are citizens of the United States and of the State wherein they
       reside. No State shall make or enforce any law which shall abridge the privileges
       or immunities of citizens of the United States; nor shall any State deprive any
       person of life, liberty, or property, without due process of law; nor deny to any
       person within its jurisdiction the equal protection of the laws.

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       Section 5. The Congress shall have power to enforce, by appropriate legislation, the
       provisions of this article.

U.S. Const. amend. XIV. As with the Thirteenth Amendment, the provisions of the Fourteenth

Amendment must be enforced through enacting legislation. “[T]he Fourteenth Amendment does

not create a private right of action; instead, ‘§ 1983 provides a cause of action for all citizens

injured by an abridgement of th[e] protections’ set forth in ‘the Equal Protection and Due Process

Clauses of the Fourteenth Amendment.’” Brent v. Wayne Cnty. Dep’t of Hum. Servs., 901 F.3d

656, 683 (6th Cir. 2018) (citations omitted).

       Plaintiffs bring their Fourteenth Amendment claims pursuant to 42 U.S.C 1983. [Doc. 29,

¶15]. As such, the question is whether the adoption of the Land Use Plan is a state action that

denies “the equal protection of the laws” to Blacks. See Palmer v. Thompson, 403 U.S. at 220.

                       a.      Plaintiffs’ Fourteenth Amendment claims are prescribed.

       For the same reasons as outlined for the Thirteenth Amendment claims, any action or

allegation which Plaintiffs seek to redress under the Fourteenth Amendment or § 1983, which

predate March 21, 2022, are prescribed and should be dismissed, with prejudice.

                       b.      Claim II (Equal Protection): Plaintiffs failed to plead facts of
                               discriminatory intent.

       The Fourteenth Amendment has been interpreted by the Supreme Court as “a direction that

all persons similarly situated should be treated alike.” City of Cleburne v. Cleburne Living Ctr.,

473 U.S. 432 (1985). “State actors may create classifications facially, when such categorization

appears in the language of legislation or regulation, . . . or de facto, through the enforcement of a

facially neutral law in a manner so as to disparately impact a discernible group.” Johnson v.

Rodriguez, 110 F.3d 299, 306 (5th Cir. 1997) (citing McGinnis v. Royster, 410 U.S. 263, 270

(1973)). “The Supreme Court has instructed us time and again, however, that disparate impact



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alone cannot suffice to state an Equal Protection violation; otherwise, any law could be

challenged on Equal Protection grounds by whomever it has negatively impacted.” Id. (emphasis

added). Rather, “a party who wishes to make out an Equal Protection claim must prove ‘the

existence of purposeful discrimination’ motivating the state action which caused the

complained-of injury.” Id. (citations omitted) (emphasis added).

       A racially motivated discriminatory intent is a necessity for an equal protection claim.

“[T]he absence of proof of discriminatory intent forecloses any claim that the official action

challenged in this case violates the Equal Protection Clause of the Fourteenth Amendment.” City

of Memphis, 451 U.S. at 119 (citing Washington v. Davis, 426 U.S. 229 (1976); Arlington Heights,

429 U.S. 252 (1977)). “Discriminatory purpose in an equal protection context implies that the

decisionmaker selected a particular course of action at least in part because of, and not simply in

spite of, the adverse impact it would have on an identifiable group.” United States v. Galloway,

951 F.2d 64, 65 (5th Cir. 1992).

       When a zoning decision is challenged as violating the Fourteenth Amendment, it is the trial

court’s function to “examine the purpose underlying the decision.” Arlington Heights, 429 U.S. at

268. Even where a zoning decision “does arguably bear more heavily on racial minorities,” or has

a “discriminatory ‘ultimate effect,’” a constitutional violation is not present unless the “sequence

of events leading up to the decision” are indicative of a discriminatory motive. Id. at 269, 271. A

discriminatory purpose requires a showing of far more than an “awareness of consequences.” Pers.

Adm’r of Massachusetts v. Feeney, 442 U.S. 256, 279 (1979). Without the presence of a

discriminatory purpose behind a zoning decision, no constitutional violation is present. See

Arlington Heights, 429 U.S. at 269, 270.




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       Here, the Complaint fails to provide any factual allegations that St. James Parish’s

unanimous adoption of the Land Use Plan was motivated by a discriminatory intent.

Representatives from every district, including Districts 4 and 5, were represented in the unanimous

adoption. [Doc. 29, ¶ 275, n. 192]. The Complaint discusses historical events leading up to the

2014 decision that do not allege a discriminatory intent of the Parish, its planning commission, or

parish council when the Land Use Plan was adopted. Indeed, the Complaint makes it clear that St.

James Parish operated for 93 years “without a zoning ordinance or land use plan” and that land

use rules were enacted over concerns related to control of private property, not any type of

discriminatory intent. [Doc. 29, ¶¶ 266, 275].

       The Complaint contains numerous factual assertions that, if proven true, could show only

a possible disparate impact on Blacks (which is denied). Importantly, however, the Complaint

lacks factual assertions regarding any action or statement by the Parish that establishes the Land

Use Plan was adopted for the purpose of impacting Black residents or based on discriminatory

intent. Even if Plaintiff proves all the facts in the Complaint, there is no evidence that the elected

officials who adopted the Land Use Plan were motivated, even in part, by a discriminatory intent.

At best, the Complaint alleges historic unrelated discriminatory actions and then seeks to impute

past actions to current decisions made by duly elected officials without alleging that any

discriminatory intent guided those current and specific decisions.

       The Complaint contains only sweeping, unsupported conclusions of discrimination which

are properly disregarded by this Court on a Rule 12(b)(6) motion. [See Doc. 29, ¶¶ 15, 567].

Lacking any factual allegations of a discriminatory intent on the part of the Parish, the Complaint

does not plead a claim under the Fourteenth Amendment.




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                        c.      Claim II (Equal Protection): Plaintiffs failed to plead facts of a
                                lack of equal treatment.

        Where a “[p]laintiff’s property has not been treated differently from other similarly situated

properties in its zoning classification,” no violation of the Fourteenth Amendment is present. See

Wheelahan v. City of New Orleans, No. CV 19-11720, 2020 WL 1503560, at *16 (E.D. La. Mar.

30, 2020) (finding plaintiff had not pled a Fourteenth Amendment Equal Protection claim). Even

an allegation that a zoning ordinance impacts an individual plaintiff’s ability to utilize their

property does not support a Fourteenth Amendment Equal Protection claim if there is no allegation

that a similarly situated property owner was treated differently. Id. at *19.

        The Land Use Plan treats all residents within a zoning classification equally, without any

consideration of race or other factors. For example, residents of District 4 are not treated differently

based on race. The Complaint lacks any allegation that the Land Use Plan does not treat all property

owners within the same zoning classification equally or that the Parish has treated Black property

owners differently than white property owners within the same zoning classification. As a result,

Plaintiffs have not pled a basis for an equal protection violation.

                        d.      Claim III Substantive Due Process (Bodily Safety and
                                Integrity): Plaintiffs failed to plead facts of a lack of rational
                                objective.

        “There are two types of due process protections: substantive and procedural.” Monumental

Task Comm., Inc. v. Foxx, No. 16-12495, 2016 WL 5780194, at *4 (E.D. La. Oct. 4, 2016).

Plaintiffs purport to put forth a substantive due process claim.

        “Substantive due process bars arbitrary, wrongful government action regardless of the

fairness of the procedures used to implement them.” Id. (citations omitted). To “establish a

substantive due process violation, a plaintiff must first show the existence of a constitutionally

protected right to which the Fourteenth Amendment’s due process protection applies.” Id. “If there


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is no denial of life, liberty, or property, then the government is not required to provide due

process.” Monumental Task Comm., Inc. v. Foxx, 157 F. Supp. 3d 573, 594 (E.D. La. 2016).

       However, assuming a denial of a constitutionally protected right is established, the question

becomes “whether a rational relationship exists between the [policy] and a conceivable legitimate

governmental objective.’” FM Properties Operating Co. v. City of Austin, 93 F.3d 167, 174–75

(5th Cir. 1996) (citations omitted) (emphasis in original). “If the question is at least debatable,

there is no substantive due process violation.” Id. at 175. “A plaintiff’s substantive due process

challenge to a local ordinance may be dismissed on a Rule 12(b)(6) motion if the ordinance is

rationally related to a legitimate government interest.” Monumental Task Comm., Inc., 2016 WL

5780194, at *4. “Only an abuse of power that ‘shocks the conscience’ is actionable through a

substantive due process claim.” Nobles Const., L.L.C. v. Par. of Washington, No. CIV.A. 11-2616,

2012 WL 1865711, at *5 (E.D. La. May 22, 2012), aff’d sub nom. Nobles Const., L.L.C. v.

Washington Par., 544 F. App’x 263 (5th Cir. 2013) (citing McClendon v. City of Columbia, 305

F.3d 314, 326 (5th Cir. 2002)) (dismissing substantive due process claim on 12(b)(6) motion to

dismiss where plaintiff failed to demonstrate conduct was sufficiently egregious to rise to the level

of shocking the conscience)).

       A defendant need not prove or establish the rational relationship between the challenged

policy and a government objective as “the actual purpose that may have motivated its proponents,

assuming this can be known) is irrelevant for rational basis analysis.” FM Properties Operating

Co., 93 F.3d at 174. Rather, if an objective reviewer finds a “conceivable legitimate governmental

objective,” no substantive due process claim exists. Id. at 175 (finding city council policy to

enforce building quality and safety standards had legitimate governmental objective).




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       This Court has already held that St. James Parish’s Land Use Plan was based on a rational

objective. Upon prior review of St. James Parish’ Land Use Plan, this Court found: “The Land Use

Ordinance provides that it was enacted to guide the future development of St. James Parish,” citing

the March 5, 2014 resolution adopting the Land Use Plan. Petroplex Int’l v. St. James Par., 158 F.

Supp. 3d 537, 542 (E.D. La. 2016). This Court concluded that “the Council based its decision on

the findings outlined in the draft comprehensive plan generated by the planning commission.

Though Plaintiffs may disagree with Defendants’ response to the facts outlined in the

comprehensive plan, the Court cannot find that this response was devoid of any conceivable

rational basis.” Id. As such, in Petroplex the federal substantive due process claim against St.

James was dismissed with prejudice. Id. at 543. The same result is compelled here.

               5.      Claim IV: 42 U.S.C. § 1982 - Property Rights of Black Citizens

       42 U.S.C. § 1982 states: “All citizens of the United States shall have the same right, in

every State and Territory, as is enjoyed by white citizens thereof to inherit, purchase, lease, sell,

hold, and convey real and personal property.” The property rights protected under 42 U.S.C.

§ 1982 “concern[] the right of black persons to hold and acquire property on an equal basis with

white persons and the right of blacks not to have property interests impaired because of their race.”

City of Memphis, 451 U.S. at 122.

                       a.      Plaintiffs’ 42 U.S.C. § 1982 claims are prescribed.

       Because 42 U.S.C. § 1982 does not have an independent prescriptive period, Louisiana’s

one-year prescriptive period for damage to immovable property is applicable. As such, Plaintiffs

claims predating March 21, 2022 are prescribed.

       The Supreme Court has found that since there is no relevant federal statute of limitations

under 42 U.S.C. § 1982, federal courts must apply the statute of limitations that would ordinarily



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be the most appropriate one provided by state law. Johnson v. Ry. Exp. Agency, Inc., 421 U.S. 454

(1975). The Fifth Circuit utilizes this same analysis regarding the prescriptive periods applicable

to a claim brought under 42 U.S.C. § 1982. See Pennick v. City of Florala, 529 F.2d 1242 (5th Cir.

1976). Thus, the prescriptive period applicable to state law claims for property damage in

Louisiana are applicable. Louisiana Civil Code Article 3493 implements a one-year prescriptive

period for damage to an immovable.

       As addressed in earlier sections, any claim under 42 U.S.C. § 1982 regarding the Land Use

Plan itself prescribed on April 2, 2015 and May 3, 2019, respectively. Further, any allegations

regarding individual land use approvals or occurrences prior to March 21, 2022 (one year before

the March 21, 2023 Complaint) are also prescribed.

                       b.      Plaintiffs failed to plead facts of a property injury.

       Plaintiffs have not pled specific facts regarding a decrease in property value to show

standing or state a cause of action under 42 U.S.C. §1982.

       The Supreme Court recognized that government acts that depreciate the value of property

that is owned by black citizens can violate 42 U.S.C. §1982. See City of Memphis v. Greene, 451

U.S. at 101. However, where the claims do not establish an effect on the property value, no valid

claim is present. Id. (reinstating district court’s dismissal of claims on motion to dismiss).

       Plaintiffs allege decreased property values based on a Land Use Plan adopted by St. James

Parish in 2014 which they claim is lowering the property values for Black residents. Plaintiffs’

allegations are not particularized to identify a specific decreased property value. The allegations

regarding a decrease in property value need to establish a specific action of St. James Parish that

is directed at Plaintiffs. As detailed in the foregoing sections, specific allegations are not present.




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                        c.      Plaintiffs failed to plead facts of any intentional discrimination.

        A 42 U.S.C. §1982 claim requires that the defendant act with a discriminatory intent

directed at the plaintiffs on account of their race. A plaintiff’s complaint “must allege with

specificity facts sufficient to show or raise a plausible inference of 1) the defendant’s racial animus,

2) intentional discrimination, and 3) that the defendant deprived plaintiff of their rights because of

race.” Zuyus v. Hilton Riverside, 439 F. Supp. 2d 631 (E.D. La. 2006) (citing Brown v. Philip

Morris Inc., 250 F.3d 789 (3d Cir. 2001)). As the Supreme Court confirmed in City of Memphis,

a municipal regulation that has an “adverse impact on a particular neighborhood will often have a

disparate effect on an identifiable ethnic or racial group.” 451 U.S. at 128. This alone is not

indicative of a discriminatory intent or racial animus. Id. Where the allegations establish “no

racially discriminatory motive on the part of the City Council” for the challenged decision, an

actionable claim is not present. Id. at 126.

        Plaintiffs failed to allege any facts that are indicative of a discriminatory intent on the part

of St. James Parish in adopting the 2014 Land Use Plan. The Complaint provides only baseless

conclusions without supporting factual allegations. At best, the Complaint suggests an adverse

impact on Black residents in Districts 4 and 5 (which is denied) but does not establish or allege a

“racially discriminatory motive on the part of the [Parish] Council.” Plaintiffs’ historical recitation

of racial discrimination in Louisiana and in St. James Parish is insufficient to state a § 1982 claim

and it should be dismissed.

                6.      Claim V (Substantial Burden)/VI (Discrimination): Religious Land Use
                        and Institutionalize Persons Act

        The Religious Land Use and Institutionalization Persons Act of 2000 (“RLUIPA”) was

enacted by Congress to target local land-use regulation and ensure “greater protection for religious

exercise than is available under the First Amendment.” Holt v. Hobbs, 574 U.S. 352, 357 (2015).


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RLUIPA generally provides two types of claims, designated by subsections (a) and (b)

respectively, which include substantial burden claims and discrimination and exclusion claims.

Plaintiffs attempted to plead both.

                       a.      Plaintiffs’ RLUIPA claims are prescribed.

       Except as otherwise provided by law, a cause of action “arising under an Act of Congress

enacted” after December 1, 1990, may not be commenced later than four years after the cause of

action accrues. 28 U.S.C. § 1658. Because there is no specified statute of limitations for a cause

of action brought under the RLUIPA, the four-year catch-all federal statute of limitations governs

claims brought under this statute. Id.; see Jones v. R.R. Donnelley & Sons Co., 541 U.S. 369, 382

(2004). The statute of limitations for an action brought under the RLUIPA begins to run on the

date on which the plaintiff’s claim “accrues,” i.e., on the day that the governmental entity issues a

final decision resulting in the complained-of action. Bay Area Laundry and Dry Cleaning Pension

Trust Fund v. Ferbar Corp. of Cal., 522 U.S. 192, 201 (1997).

       Plaintiffs must complain of actionable harm accruing on or after March 21, 2019 for their

RLUIPA claim to be timely. This specifically forecloses Plaintiffs’ claims regarding the 2014

adoption of the Land Use Plan, the April 23, 2014 land use approval of South Louisiana Methanol,

the 2018 amendment to the Land Use Plan, the January 24, 2019 land use approval of Formosa

[Doc. 29, ¶587], and any other actions prior to March 21, 2019.

                       b.      Plaintiffs failed to plead facts of a property interest.

       For a substantial burden claim, RLUIPA states that “no government shall impose or

implement a land use regulation in a manner that imposes a substantial burden on the religious

exercise of a person, including a religious assembly or institution . . .” 42 U.S.C. §2000cc(a)(1). A

substantial burden can be present in three scenarios, the third of which includes “in the



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implementation of a land use regulation or system of land use regulations, under which a

government makes, or has in place formal or informal procedures or practices that permit the

government to make, individualized assessments of the proposed uses for the property involved.”

42 U.S.C. §2000cc(a)(2)(C). For a discrimination claim, RLUIPA states: “No government shall

impose or implement a land use regulation that discriminates against any assembly or institution

on the basis of religion or religious denomination.” 42 U.S.C. §2000cc(b)(2).

       “[L]and use regulation” is defined by RLUIPA as “a zoning or landmarking law, or the

application of such a law, that limits or restricts a claimant’s use or development of land (including

a structure affixed to land), if the claimant has an ownership, leasehold, easement, servitude, or

other property interest in the regulated land or a contract or option to acquire such an interest.” 42

U.S.C. §2000cc-5(5) (emphasis added). A “claimant” is “a person raising a claim or defense

under” RLUIPA. 42 U.S.C. 2000cc-5(1).

       Here, Plaintiffs have no cause of action because they do not qualify as ‘claimants’ under

RLUIPA. They have no ownership, leasehold, easement, servitude, or other property interest in

the land on which Plaintiffs allege unmarked cemeteries may exist. The Complaint makes it very

clear that these alleged and potential unmarked burial sites are owned by others. For example, the

“Formosa project site” is located on former plantations which Plaintiffs claim contain unmarked

burial sites. [Doc. 29, ¶510]. There is no allegation, nor can there be, that Plaintiffs own the

“Formosa project site.” Plaintiffs have provided no allegations to support a finding that they have

any property interest in the property. To have a property interest protected by due process, a person

must have more than an abstract need or desire for the property; he must have a legitimate

entitlement to it, not merely a unilateral expectation. La. Const. art. I, § 2; see e.g., Barber v.




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Louisiana Workforce Commission, 2017-0844 (La. App. 1st Cir. 10/19/18) 266 So.3d 368.

Plaintiffs have no such interests and so are not ‘claimants.’

       Plaintiffs claim a property right to the potential unmarked burial sites based on a 2008

opinion of the Office of the Attorney General. [Doc. 29, ¶550]. However, the Attorney General

opinion letter is not applicable because it addresses only the situation where a plot has been

previously set apart for cemetery purposes. When a plot has been “dedicated” for cemetery

purposes at some point in time, the dedication is in the nature of an irrevocable covenant running

with the land. Humphreys v. Bennett Oil Corporation, 197 So. 222, 226 (La. 1940). Absent

allegations that District 4 or 5, or parts thereof, were previously dedicated for cemetery purposes,

Plaintiffs do not legally have any property rights to support a RLUIPA claim.

               7.      Claim VII: Preservation of cultural origins.

       Plaintiffs’ Claim VII originates from the Louisiana Constitution, Article XII, Section 4,

which states: “The right of the people to preserve, foster, and promote their respective historic

linguistic and cultural origins is recognized.” La. Const. art. XII, § 4.

                       a.      Plaintiffs’ preservation claim has prescribed.

       No case has determined the applicable statute of limitations for claims under Section 4.

Under general principles regarding prescriptive periods for Louisiana constitutional claims, “when

discerning the basis to support a damages remedy for a constitutional violation under Louisiana

law, the Louisiana Supreme Court grounded the claim upon the fountainhead of Louisiana tort

law, Article 2315.” Jones v. City of Monroe, No. 3:19-CV-00832, 2019 WL 5488603, at *7 (W.D.

La. Oct. 8, 2019), report and recommendation adopted, No. 3:19-CV-00832, 2019 WL 5491922

(W.D. La. Oct. 24, 2019). By default, Section 4 would be susceptible to a one-year prescriptive

period, barring any claims that arose before March 21, 2022.



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           Plaintiffs were aware, by November and/or December 2019, of the purported cemeteries

on the Buena Vista and Acadia tracts. [Doc. 29, ¶¶ 505, 526]. By March 2020, they knew of an

alleged five additional cemeteries on those same tracts. [Doc. 29, ¶ 529]. Plaintiffs were also aware

by May 2019 of alleged cemeteries at the proposed SLM facility. [Doc. 29, ¶ 539]. Plaintiffs

“discovered” other alleged cemeteries in March 2021 and February 2020. [Doc. 29, ¶¶ 498, 503].

Thus, all claims under Section 4 in the Complaint are prescribed.

                            b.       Plaintiffs failed to plead an infringement of their ability to
                                     preserve, foster, or promote their historic linguistic or cultural
                                     origins.

           This Court previously provided a detailed discussion of the history of Section 4, stating:

                   Article XII, section 4 of the Louisiana Constitution of 1974 recognizes the
           “right of the people to preserve, foster, and promote their respective historic
           linguistic and cultural origins.” La. Const. art. XII, § 4. The driving force behind
           the provision was preservation of the French language and culture. Lee Hargrave,
           “Statutory” and Hortatory” Provisions of the Louisiana Constitution of 1974, 43
           La. L. Rev. 647, 682 (1983). The law was supported primarily by French-speaking
           delegates who were concerned with the protection of the Acadian French culture.
           Id. No court has ever invalidated a law using this provision.

                   Professor Lee Hargrave suggested that the development and intent of article
           XII, section 4 support a narrow construction of the law. For example, the principal
           drafter’s stated intent was “to encourage bilingualism rather than make a drastic
           innovation.” Id. at 684.
Monumental Task Comm., Inc. v. Foxx, 157 F. Supp. 3d at 600 (dismissing claim under Article XII,

Section 4), aff’d sub nom. Monumental Task Comm., Inc. v. Chao, 678 F. App’x 250 (5th Cir. 2017).

           In Monumental Task Comm. and McGraw,8 the plaintiffs argued that the removal of

monuments violated their right to preserve, foster, and promote their historic, linguistic, and

cultural origins. The Louisiana Fourth Circuit Court of Appeals and this Court dismissed those

claims, finding the plaintiffs had no property rights in the monuments. See Monumental Task



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    McGraw v. City of New Orleans, 2016-0446 (La. App. 4 Cir. 3/29/17), 215 So. 3d 319, 331.


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Comm., Inc., 157 F. Supp. 3d at 601; McGraw, 215 So. 3d at 331 (“Mr. McGraw, therefore, has

failed to establish that he has acquired vested property rights in the monuments at issue by

operation of Article XII, Section 4 of the Louisiana Constitution.”). “Plaintiffs fail to demonstrate

that the removal of the monuments will infringe upon their right to preserve, foster, and promote

their historic, linguistic, and cultural origins.” Monumental Task Comm. Inc., 157 F. Supp. 3d at

601.

        Here, Plaintiffs seek to compel the Parish to promote their members’ culture, in direct

contravention of the Monumental Task Comm. and McGraw cases. Locating burial sites, and their

preservation, is governed by state law. There is no allegation that St. James Parish or individual

landowners violated those laws. Regardless, Plaintiffs seek to have St. James Parish ensure that

any possible area where an unmarked burial site is possibly located is forever preserved. Louisiana

law does not mandate such expansive protections and would serve to usurp the authority and

obligations of the State and private landowners. Nearly every case discussing Section 4 focuses on

language rights. No court has read this provision as expansively as Plaintiffs would require and no

court has ever invalidated a law, much less usurped local police powers, using this provision.

        Plaintiffs also lack a property right on which to base this claim. As previously detailed,

Plaintiffs have no property right in any alleged unmarked burial site on the property of another

private citizen. Failing to plead facts to support their claim, it should be dismissed with prejudice.

III.    REQUEST FOR ATTORNEYS’ FEES

        “Pursuant to 42 U.S.C. § 1988, a court may, in its discretion, award attorney’s fees to the

prevailing party in a section 1983 action.” Monumental Task Comm., Inc. v. Foxx, 2016 WL

5780194, at *8. “A prevailing defendant is entitled to fees only when a plaintiff’s underlying claim

is frivolous, unreasonable, or groundless.” Allen v. Lowe, No. 14-204, 2015 WL 1021695, at *2



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(E.D. La. 2015) (quoting Myers v. City of W. Monroe, 211 F.3d 289, 292 (5th Cir. 2000)). Plaintiffs

asserted numerous groundless claims under § 1983 against St. James Parish. The Parish, a local

municipality, had to defend a 600+ page Complaint fraught with meritless and irrelevant

allegations designed more for media attention than for stating a cause of action. As such, this Court

should appropriately award St. James Parish its attorneys’ fees for defending this matter.

IV.    CONCLUSION

       Therefore, St. James Parish requests that its motion be granted and this litigation be

dismissed before any further public funds be expended on litigation for these meritless claims.

Further, Plaintiffs now amended their Complaint and did so without addressing the improprieties

and deficiencies raised herein. Plaintiffs should not be allowed a second opportunity to amend,

and their Complaint should be dismissed with prejudice at Plaintiffs’ cost.

                                             RESPECTFULLY SUBMITTED,
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